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                                       MINUTES



   CASE NUMBER:             CR 19-00099 DKW-KJM
   CASE NAME:               USA v. (01) Michael J. Miske, Jr.
   ATTYS FOR PLA:           Mark A. Inciong
                            Michael David Nammar
                            William KeAupuni Akina
   ATTYS FOR DEFT:          (01) Lynn E. Panagakos
                            (01) Michael Jerome Kennedy
   INTERPRETER:


         JUDGE:        Derrick K. Watson           REPORTER:        Gloria Bediamol

         DATE:         2/15/2024                   TIME:            8:30 am - 1:35 pm


  COURT ACTION: EP: Jury Trial (Day 21) held.

  Defendant (1) Michael J. Miske, Jr. present, in custody.

  FBI agent Tom Palmer present.

  17 Jurors present.

  Government’s Witnesses
  Ashlin Akau - CST. Direct Examination, Cross Examination, Redirect Examination,
  Recross Examination.
  Admitted Exhibits: 1-38, 1-57, 1-58, 1-702, 1-706, 1-862, 1-863, 1-880, 6-26, 6-29, 6-44,
  6-79, 8-1, 8-5, 8-7, 9000-043A (Defendant to file an Eleventh Supplemental Exhibit List
  listing said exhibit).

  Kaulana Freitas - CST. Direct Examination.
  Admitted Exhibits: 2-1, 2-11, 2-12, 2-13, 2-16, 4-19, 4-22. 4-27, 4-28, 4-29, 4-30, 6-32,
  6-37.

  Jurors excused for the day.
Case 1:19-cr-00099-DKW-KJM Document 1316 Filed 02/15/24 Page 2 of 2 PageID.12500
  Further Jury Trial (Day 22) set for 2/16/2024 at 8:30 a.m. in Aha Kupono before Chief
  Judge Derrick K. Watson.

  Defendant (1) Michael J. Miske, Jr. is remanded to the custody of the U.S. Marshals
  Services.

  Submitted by: Tammy Kimura, Courtroom Manager
